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Valuation of the DAAG Trade Name                                                          Revenues

Trade names and trademarks are important assets in most business                          Management provided us with a projection of revenues for the period
enterprises. Trade names are intellectual property that take the form                     2021 through 2026, consistent with the DCF analysis.           Based on
of a name, term, sign, symbol, logo, design, label, brand, or any                         discussions with Management, we assumed 100.0 percent of the overall
combination thereof.             They are intended to identify the goods or               revenues of the Company are attributable to the trade names and
services of one concern and to differentiate them from those of                           trademarks.
competitors. Oftentimes, a key driver to the attractiveness of many
companies subject to acquisition is the power and allure of the target’s                  Royalty Rate Determination
underlying trade names and trademarks.
                                                                                          In determining the appropriate royalty rate to apply in this analysis, we
Income Approach – Relief from Royalty Method                                              relied upon publicly available licensing data from RoyaltySource, as well
                                                                                          as   individually   researched   data   from   public   company   filings.
The Relief from Royalty Method is a form of discounted cash flow                          RoyaltySource is a searchable database of technology and trademark
analysis that is predicated upon the economic benefits provided to the                    sale and licensing transactions. Data regarding these transactions
owner of the intangible asset. The theoretical underpinning of the                        includes royalty rate information, names of licensees and licensors,
methodology is that if the intellectual property asset being valued were                  descriptions of the licensed property, among other items. We reviewed
not owned by its user, the user would normally have to pay the owner                      RoyaltySource’s transactions related to trade names and trademarks of
a royalty for the right to use the asset. The royalty is generally based                  companies within the asset and investment management industry.
on a percentage of revenues, and is a function of the right being granted                 Based on our review, we selected the licensing arrangements described
and a variety of economic factors.                                                        in Appendix VII, Schedule 10 to provide guideline royalty rates. We
                                                                                          observed royalty rates ranging from 0.6 percent to 3.0 percent. We
The value of the trade names and trademarks are measured through the                      selected a 0.75 percent royalty rate. Based on discussions with
value of the royalties that the company is relieved from paying due to                    Management, the DAAG Trade Name is very young and would be co-
its ownership of the assets. This approach provides a measure of value                    branded with FTX Europe over the near-term. There has also not been
by determining the avoided cost; i.e. the present value of the avoided                    a significant amount of investment in the brand to date. As a result, we
royalties.       The projected annual after-tax cost savings are then                     decided on a royalty rate towards the lower end of the observed
subjected to a present value calculation.                  Accordingly, the key           licensing agreements. We also considered the profit margin split rule of
components of this valuation methodology include a forecast of                            thumb that considers a royalty rate would not exceed 25 percent of the
revenues and the determination and application of an appropriate                          subject company’s earnings before interest and taxes (“EBIT”) margin
royalty rate and discount rate.                                                           as a sanity check to the selected rate. We utilized Management’s
                                                                                          projected EBIT margins in applying the rule of thumb and noted that
                                                                                          the margins support the royalty rate selected. Considering the data




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observed from RoyaltySource; the profit margin split rule of thumb;                   Valuation of the Operating Licenses
and qualitative information provided by Management, we believe that
a 0.75 percent is a reasonable royalty rate for the Company’s trade                   Nature of Operating Licenses
names and trademarks as of the Valuation Date.
                                                                                      DAAG holds various operating licenses that allow them to tokenize
Valuation                                                                             publicly available securities and list them for sale on the blockchain.
                                                                                      Considering that these licenses facilitate the Company’s main source of
To calculate royalty savings, we applied the selected royalty rate of                 revenue, BDO finds it reasonable to value them using the MPEEM. The
0.75 percent to 100.0 percent of revenue, as Management believes that                 Operating Licenses are further discussed below:
all of its business is in some manner tied to the trade names and
trademarks. We assumed a 6-year for the economic life of the trade                    A.   Anti-Money Laundering (“AML”) License in Switzerland:
names and trademarks, based on discussions with Management. We then
adjusted the pre-tax relief from royalty by a tax rate of 12.0 percent                     The Financial Market Supervisory Authority requires the firms that
based on information provided by Management. We determined the                             it supervises to adopt a risk-based approach to AML (Anti-Money
value of the Company’s trade names and trademarks by discounting the                       Laundering)/CFT    (Combating    the   Financing   of   Terrorism)
after-tax royalty savings by a discount rate of 37.5 percent.          This                compliance. This means that firms in Switzerland must assess their
discount rate exceeds the WACC, reflecting the greater risk attributes                     customers individually and then deploy a compliance response
of this intangible asset as compared to the risks associated with                          commensurate with the level of risk that they face. Accordingly,
aggregate cash flows of the Company. Finally, we added to the sum of                       high risk customers should be subject to more intensive AML/CFT
the discounted after-tax royalty savings the present value of the tax                      controls, while low risk customers may only require simpler
benefit related to the amortization of the Company’s trade names and                       measures.
trademarks.
                                                                                      B.   Trading License in Dubai
Conclusion
                                                                                           Under this Operating License, DAAG is allowed to own and operate
                                                                                           a proprietary trading house in crypto commodities. This Operating
Based on our analysis, as presented in Appendix VII, Schedule 9, we
                                                                                           License was issued on October 6, 2021, with a length of one year.
determined that the fair value of the Company’s trade names and
trademarks was $1.4 million as of the Valuation Date.
                                                                                      C.   Modulus Exchange License

                                                                                           DAAG has a software license called the Modulus Exchange Solution
                                                                                           through which DAAG can operate a crypto derivative exchange




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      platform. This license agreement goes until either party decides to              Income Approach - MPEEM
      terminate.
                                                                                       The methods under the income approach are most commonly used with
D.    Cycec Trading License                                                            respect to the analysis of customer intangibles. We used the MPEEM
                                                                                       under the income approach to value the operating licenses. The MPEEM
      Under this Operating License issued in Cyprus, DAAG can provide                  determines the value of a specified asset by calculating the present
      the following services:                                                          value of future earnings attributable to the asset.

      o           Reception and transmission of orders in relation to one or           Many assets in addition to the operating licenses contribute to earning
                  more financial instruments                                           the Company’s cash flow (“Contributory Assets”). Accordingly, in order
                                                                                       to derive the cash flow attributable to the operating licenses, we must
      o           Execution of orders on behalf of clients
                                                                                       deduct the cash flows required to provide returns on the Contributory
                                                                                       Assets. The cash flows relating to operating licenses are equal to the
      o           Portfolio management
                                                                                       “excess earnings” remaining after subtracting the returns on the
      o           Provision of investment advice                                       Contributory Assets from the cash flow.


      o           Safekeeping and administration of financial instruments,             We computed the “excess earnings” related to the Company’s operating
                  including custodianship and related services.                        licenses as follows:


      o           Grant credits or loans to one or more financial                      Revenues
                  instrument
                                                                                       Management provided us with a projection of revenues for the period
      o           Foreign exchange services.                                           2021 through 2026. From there, we projected out revenues in line with
                                                                                       the long-term growth rate until cash flows became de-minimis. For
      The aforementioned services can also be provided in Austria.                     each period, we estimated that 100.0 percent of revenues was
                                                                                       anticipated to be generated by the operating licenses as of the
E.    FMA Lichtenstein Tokenized Stocks License                                        Valuation Date.

      Through this license, DAAG was authorized by the Financial Market                Probability of Non-Compliance
      Supervisor of Lichtenstein to issue and trade tokenized stocks. This
      Operating License was issued on July 5, 2021, and is renewable in                Instead of using a traditional attrition curve, we opted to use an annual
      one year.                                                                        probability of non-compliance, as this was more fitting to the nature of
                                                                                       the business. To derive the revenues for each period, we adjusted total




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revenues by a compliance curve calculated utilizing the selected                      Conclusion
probability of non-compliance. Based on discussions with Management
regarding the likelihood of the licenses not being renewed due to falling             Based on our analysis, as presented in Appendix VII, Schedule 11, we
out of compliance, we selected a 1.0 percent probability of non-                      determined that the fair value of the Company’s operating licenses was
compliance to apply to the operating license analysis. We used the                    $149.9 million as of the Valuation Date.
selected probability of non-compliance to develop the compliance
curve, which was applied to projected revenue attributable to existing
customers.                                                                            Contributory Assets Calculation
Taxes                                                                                 The use of the MPEEM requires that charges for the use of other
                                                                                      contributory assets be subtracted under the theory that the owner of
We deducted income taxes based on a 12.0 percent tax rate as selected                 the subject asset does not own the other contributory assets and would
based on information provided by Management.                                          have to rent/lease them in order to earn the cash flows related to the
                                                                                      subject asset.
Returns on Contributory Assets
                                                                                      The contributory assets considered herein, stated at their estimated
To reflect the fact that certain assets contribute to generating cash                 fair value basis over the projection interval, included debt-free, cash-
flows related to the customer relationships, returns for these other                  free working capital, fixed assets and certain recognizable intangible
assets, or “Contributory Asset charges” were calculated and deducted                  assets. The intangible assets consisted of the Ledger Prime Trade Name
from operating income to identify the cash flow solely attributable to                and Assembled Workforce.       Although not recognizable under the
the customer relationships.                                                           Statement of Financial Accounting Standards as an identifiable
                                                                                      intangible asset, the assembled workforce is an important contributory
The resulting “excess earnings” are considered exclusively attributable
                                                                                      intangible asset of the Company.
to the Company’s current customer relationships. We discounted these
excess earnings to present value using a 37.5 percent discount rate. This             Return on Debt-Free Net Working Capital
discount rate exceeds the WACC, reflecting the greater risk attributes
of this intangible asset as compared to the risks associated with                     DFNWC is defined as current assets minus current liabilities, excluding
aggregate cash flows of the Company. We added to the sum of the                       current maturities of long-term obligations.
discounted excess earnings and the present value of the tax benefit
related to amortization of the Company’s customer relationships to                    The projected return on DFNWC was based on the capital mix method,
determine the fair value of the Company’s customer relationships.                     assuming an after-tax cost of debt of 2.9 percent, a cost of equity of
                                                                                      42.2 percent, and a percentage of debt financing of 90.0 percent, which
                                                                                      yields a return of 7.0 percent, as shown in Appendix VII, Schedule 2.




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Return on Tangible Assets                                                             By acquiring an assembled workforce, the costs of recruiting,
                                                                                      interviewing and training the appropriate staff were avoided. Based on
Tangible assets, which consist of net fixed assets, are based upon the                discussions with Management, we identified a representative unit cost
level of tangible assets currently deployed and anticipated capital                   for hiring and training new staff by department. These rates were
expenditures for normal asset replacement. The projected return on                    applied to the number of acquired employees in each department to
fixed assets was based on the capital mix method, assuming an after-                  estimate the savings realized by the Company. New employees require
tax cost of debt of 2.9 percent, a cost of equity of 42.2 percent, and a              a period of time to reach full productivity and are therefore not as
percentage of debt financing of 80.0 percent, which yields a return of                efficient as seasoned employees. This period of lower productivity
10.5 percent, as shown in Appendix VII, Schedule 2.                                   represents an implicit cost of assembling a workforce. This effect is
                                                                                      quantified in terms of the period of time that a new employee could be
Return on Intangible Assets                                                           expected to be less than fully productive. In addition, their starting
                                                                                      efficiency was compared to their expected seasoned efficiency. This
Intangible assets deployed in the generation of earnings from the                     period was compared to the average fully loaded cost (salary plus
customer relationships consist of the Assembled Workforce. A 37.5                     benefits) of the assembled workforce to determine the cost of this lost
percent after-tax required rate of return has been deemed appropriate                 productivity.
for the Assembled Workforce.
                                                                                      Management provided us with information regarding the number of
Conclusion                                                                            employees, average salaries and recruitment and interview practices.
                                                                                      We have determined the cost to replace and develop a staff of similar
Please refer to the contributory asset charges as presented in Appendix               educational background, training and professional experience as the
VII, Schedule 12 for additional information.                                          existing staff at the Company.

                                                                                      Conclusion
Valuation of the Assembled Workforce
                                                                                      Based on our analysis, as presented in Appendix VII, Schedule 14, we
We estimated the fair value of the acquired assembled workforce in                    determined that the fair value of the assembled workforce was $9.1
order to apply its appropriate capital charge component in our                        million as of the Valuation Date.
estimated fair value for the intangible asset described above. The
assembled workforce was valued using the Replacement Cost Method
under the cost approach. Under this method, workforce value is a
function of costs avoided through obtaining a pre-existing, trained and
fully efficient team rather than incurring the costs to assemble this
workforce.




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Test of Reasonableness –
                                                                                      selected discount rates applied in the valuation of the intangible assets
                                                                                      of the Company results in a weighted average rate of return consistent


Weighted Average
                                                                                      with the WACC and the IRR implied by the Transaction.

                                                                                      The WARA analysis is presented in Appendix VII, Schedule 2. As shown,

Return on Assets                                                                      each asset class lists an after-tax rate of return and the weighted rate
                                                                                      of return. After-tax rates of return for net working capital and tangible
                                                                                      assets are not readily available. Therefore, returns are estimated based
                                                                                      upon the pre-tax returns that are available in the marketplace which
                                                                                      are then tax-affected to arrive at the appropriate after-tax rate of
                                                                                      return. The projected return on DFNWC was based on the capital mix
The business enterprise comprises a combination of both tangible and
                                                                                      method, assuming an after-tax cost of debt of 2.9 percent, a cost of
intangible assets, each with their own risk profiles and corresponding
                                                                                      equity of 42.2 percent, and a percentage of debt financing of
required rates of return. A “hierarchy of returns” concept applies in
                                                                                      90.0 percent, which yields a return of 7.0 percent.
the selection of returns attributable to specific underlying assets of a
given business.          All returns are stated within the context of the
                                                                                      Typically, the rate of return for tangible assets would be higher than
weighted average cost of capital, but some assets carry more risk than
                                                                                      that for more liquid assets such as working capital. The projected
others. Thus, assets that are more readily converted into cash possess
                                                                                      return on fixed assets was based on the capital mix method, assuming
greater utility outside of the existing economic entity or have more
                                                                                      an after-tax cost of debt of 2.9 percent, a cost of equity of 42.2 percent,
robust earnings support are considered less risky and afforded lower
                                                                                      and a percentage of debt financing of 80.0 percent, which yields a
required rates of return than those less favorably positioned.          In
                                                                                      return of 10.5 percent, as shown in Appendix VII, Schedule 2.
general, intangible assets carry the most risk in a business, whereas
cash and receivables, at the opposite end of the risk spectrum, may                   The after-tax rate of return for intangible assets was based on a WACC
carry the least risk and consequently, lower required rates of return.                analysis which was described in a previous section of this report. Since
Generally speaking, the required rate of return on intangible assets                  the rates of return used in the WACC are based on studies using after-
would be higher than the required rate of return on tangible assets.                  tax rates of return for corporations, the return derived from the WACC
Accordingly, the required rate of return for the combination of assets                does not need to be adjusted for taxes. Therefore, the projected rate
that comprise the business enterprise would be equal to the weighted                  of return for intangible assets is based upon the WACC, with
average rate of return evidenced by the individual component assets                   adjustments relative to specific risks associated with each intangible
and their relative contributions to the total purchase consideration.                 asset.

A weighted average returns analysis (“WARA”) of the collection of                     Multiplying the percentage of fair value for each asset by the after-tax
tangible and intangible assets acquired was utilized to confirm that the              required rate of return results in a weighted rate of return for each




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asset. The sum of these weighted returns amounts to the weighted                           futures and other derivatives with crypto assets as underlying
average rate of return for the entire Company, which is then evaluated                     (such as perpetual and dated futures, contracts for difference
in the context of the WACC and the IRR implied by the Transaction. As                      type OTC derivatives), provided that all such products allow a
shown in Appendix VII, Schedule 2, we compared the WACC of 38.0                            leverage of at least 2:1 (“Milestone 1”); and
percent and the IRR of 38.0 percent and the WARA of 37.8 percent. We
                                                                                           The Sellers shall grant the Purchaser (or an affiliate or other
observed these three rates to be similar and therefore consider them to
                                                                                           entity designated by the Purchaser) an exclusive option to
reconcile with one another and confirm that the selected discount rates
                                                                                           acquire the CFD broker mentioned in Milestone 1 (“Milestone
applied in the valuation of intangible assets are reasonable.
                                                                                           2”) at conditions reasonable under the circumstances, provided
                                                                                           that to the extent applicable, this Milestone 2 shall be
                                                                                           conditioned    upon   approval   by   applicable   governmental
Contingent Consideration                                                                   authorities.

Per ASC 820, “Contingent consideration is an obligation of the acquirer                    Projected payments to be received including:
to transfer additional assets or equity interests to the former owners of                  (i) a total sum of $33,333,337.50 (“Bonus Component”) will be
an acquiree as part of the exchange for control of the acquiree if                         payable to Seller 1 and (ii) a total of 1,373,247 common shares
specified future events occur or conditions are met.” Contingent                           (estimated value of $50,000,000) of the Purchaser (“Stock
consideration is typically used to bridge the gap between what a seller                    Component”) will be payable to Seller 1 and Seller 2, in each
would like to receive and what the buyer would like to pay.                                case as set forth on Exhibit B, upon the achievement of the
                                                                                           milestones mentioned above, and;
As outlined in the Purchase and Sale section of the Share Purchase
Agreement dated November 14, 2021 (the “Agreement”), potential                             (ii) An extra bonus of $5,000,000 (“Extra Bonus Component”)
contingent consideration payments are included as part of the overall                      will be payable to each of Seller 1 and Seller 2 as set forth on
total purchase consideration. The earnout is based on achievement of                       Exhibit B if, by not later than the date that is one month after
certain targets detailed below 4:                                                          the Execution Date, the CFD broker mentioned in Milestone 1
                                                                                           receives all regulatory approvals to actively solicit and actually
      The Sellers shall provide (via acquisition, services or other                        provides to retail and professional customers in the European
      written relationship) a CFD broker that is licensed to and has                       Economic Area (including Germany), under the FTX brand, all
      the necessary Permits to service customers in the European                           its futures and other derivatives with crypto assets as
      Economic Area (including Germany), and actively solicits and                         underlying (such as perpetual and dated futures, contracts for
      provides to retail and professional customers in the European                        difference type OTC derivatives) with a leverage of at least
      Economic Area (including Germany), under the FTX brand,


4 Referenced from the Share Purchase Agreement dated November 14, 2021




                                                                                                                                                                A.0170
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      20:1. If achieved, the Extra Bonus Component shall be paid by                   Conclusion
      not later than two months after the Execution Date.
                                                                                      Based on the above, the fair value of the contingent consideration was
                                                                                      concluded to be $83.5 million, as shown in Appendix VII, Schedule 15.
Valuation of Contingent Consideration
The fair value of the contingent consideration payments was estimated
using a discounted cash flow methodology. We projected the
prospective contingent payments based on the likelihood and timing of
achievement of the milestones noted above. We note that the
additional cash component of $30,000,000, payable to the sellers over
4-years provided they remained employed, was excluded from the
contingent consideration calculation. Based on discussion with
Management, we determined that the additional cash component was
compensation rather than part of the contingent consideration.

Probability of Achievement

Management indicated that each of the Milestones were already in
process, with various avenues to achieve them, as of the Valuation
Date, therefore making it very likely that they would be met. As such,
we deemed the probability of achievement to be 95.0 percent for each
Milestone.

Discount Rate

We utilized the financial services composite BBB yield curve to discount
the contingent cash flow payments at the Valuation Date. The yield
curve approach took into consideration the timing of the expected
contingent cash flow payments and the risk of the acquirer being able
to make the contingent payments in accordance with the Agreement
(i.e., counterparty risk).




                                                                                                                                                               A.0171
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Conclusion of Value

Based on our analysis, in accordance with ASC 805, as presented in the
table below and in Appendix VII, Schedule 1, it is our opinion that the
fair values of the Subject Items as of the Valuation Date are:


                                                               Fair Value
 Subject Assets / Liabilities
                                                           (Rounded in $)

 Trade Names and Trademarks                                   $ 1,400,000

 Operating Licenses                                         $ 152,100,000

 Contingent Consideration                                    $83,479,000




Subsequent Events
This valuation was prepared as of the Valuation Date, based on
information known or knowable as of this date. According to the
Statement of Standards for Valuation Services No. 1, events occurring
after the valuation date may be of such nature and significance to
warrant disclosure, to be determined by the valuation analyst, in order
to make a user of the valuation report aware of such events and to be
informed that such subsequent events may potentially impact the
valuation.




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APPENDICES




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                                                                                                   IBISWorld (IBIS World report – Stock & Commodity Exchanges in
APPENDIX I. SOURCES OF INFORMATION                                                                 the US 52321);

                                                                                                   “2021 Crypto Market: Year in Review” published by the BDO
Information was principally obtained through discussions with and
                                                                                                   Asset Management Practice;
materials provided Management, including but not limited to:
                                                                                                   Publicly available financial data for companies deemed
      Background information regarding the history and nature of the                               comparable to DAAG; and,
      business and operations;
                                                                                                   Other relevant documents and sources deemed necessary to
      Reviewed financial forecasts and projections provided by                                     support our opinions.
      Management          with      respect      to    the   Company,   including
                                                                                               In the course of this valuation, we held discussions with
      Management’s estimate for fiscal years ending December 31,
                                                                                               representatives of the Company including Jurg Bavaud – Chief
      2021 through 2026, contemplated when determining the total
                                                                                               Financial Officer, Jayesh Peswani - Head of Finance, and Caroline
      consideration for the Transaction;
                                                                                               Papadopoulos - Controller concerning the operations, financial
      The Share Purchase Agreement dated as of November 14, 2021                               condition,    future    prospects,   and   projected   operations   and
      by and among the Sellers and Buyers (as named therein) with                              performance of the Company, and other aspects of Ledger Holdings
      respect to the assets of DAAG (the “Agreement”);                                         and its underlying assets that we considered pertinent to our

      Certain supporting schedules attached to the Agreement;                                  analysis.

      An organizational chart of the Company;                                                  Prospective financial information (“PFI”) was utilized as part of the fair
                                                                                               value measurement process. All such PFI was provided by Management
      Comparable transaction data sourced from RoyaltySource                                   and was represented as being Management’s best estimate of such
      Intellectual Property Database for tradenames and trademarks;                            future results.        Our work does not constitute an examination,
      Summary data regarding the Company’s employees including                                 compilation or an agreed-upon procedures assignment as described in
      headcount and salaries;                                                                  AICPA Professional Standards, Attestation Standards Section 200,
                                                                                               Financial Forecasts and Projections. Accordingly, DAAG understands
      “2021 Valuation Handbook – Guide to Cost of Capital” published
                                                                                               and accepts that we have not been employed in the capacity of
      by Duff & Phelps;
                                                                                               examining certified public accountants and has not therefore expressed
      Capital IQ – Financial Database;                                                         any form of comfort or assurance on the achievability of forecasts or
                                                                                               the reasonableness of underlying assumptions beyond what is generally
      Mergerstat control premium study;
                                                                                               accepted under the standards common to the business valuation
      National Economic Review for the 3rd Quarter of 2021;                                    profession.




                                                                                                                                                                            A.0174
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APPENDIX II. ASSUMPTIONS AND LIMITING                                                             available to support our valuation conclusions should this be

CONDITIONS                                                                                        required. Those services would be performed for an additional
                                                                                                  fee.

The general assumptions and limiting conditions pertaining to the value                      5.   Neither all nor any part of the contents of the deliverable(s)
conclusions stated in this document are summarized below.                                         shall be disseminated or referred to the public through
                                                                                                  advertising, public relations, news or sales media, or any other
      1.    To the best of our knowledge and belief, the statements of
                                                                                                  public means of communication or referenced in any
            facts contained in the deliverable(s), upon which the analysis
                                                                                                  publication, including any private or public offerings including
            and conclusions expressed are based, are true and correct.
                                                                                                  but not limited to those filed with Securities and Exchange
            Information, estimates and opinions furnished to us and
                                                                                                  Commission or other governmental agency, without the prior
            contained in the deliverable(s) or utilized in the formation of
                                                                                                  written consent and approval of and review by BDO.
            the value conclusions were obtained from sources considered
            reliable and believed to be true and correct. However, no                        6.   Good and marketable title to the business interests and assets
            representation, liability or warranty for the accuracy of such                        being appraised is assumed. We are not qualified to render an
            items is assumed by or imposed on us, and is subject to                               “opinion of title,” and no responsibility is assumed or accepted
            corrections, errors, omissions and withdrawal without notice.                         for matters of a legal nature affecting the business being
                                                                                                  appraised. No formal investigation of legal title to or liabilities
      2.    The valuation may not be used in conjunction with any other
                                                                                                  against the business valued was made, and we render no
            appraisal or study.             The value conclusions stated in the
                                                                                                  opinion as to ownership of the business or condition of its title.
            deliverable(s) are based on the program of utilization
            described in the deliverable(s), and may not be separated into                   7.   We take no responsibility for any events, conditions or
            parts. The valuation was prepared solely for the purpose,                             circumstances affecting our opinion of value that take place
            function and party identified in this report. This report may                         subsequent to the valuation date.
            not be reproduced, in whole or in part, and the findings of the
            deliverable(s) may not be utilized by any third party for any                    8.   This valuation is based on historical and prospective financial
            purpose, without the express written consent of BDO.                                  statements. Some assumptions or projections inevitably will
                                                                                                  not materialize and unanticipated events and circumstances
      3.    No change of any item in any of the deliverable(s) shall be                           may occur during the forecast period. These could include
            made by anyone other than BDO, and we shall have no                                   major changes in the economic conditions; significant
            responsibility for any such unauthorized change.                                      increases or decreases in current interest rates and/or terms
                                                                                                  or availability of financing altogether; property assessment;
      4.    The work papers for this engagement are being retained in our
                                                                                                  and/or major revisions in current state and/or federal tax or
            files and are available for Client’s reference. We would be




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            regulatory laws. Therefore, the actual results achieved during                            avoidance of any tax penalty that the Internal Revenue Service
            the projected period and investor requirements relative to                                should assess related to this matter.
            anticipated annual returns and overall yields could vary from
            the projection. Thus, variations could be material and have an                        14. We have no responsibility or obligation to update this report
            impact on the value conclusions stated herein.                                            for events or circumstances occurring subsequent to the date
                                                                                                      of this report.
      9.    Budgets/projections/forecasts relate to future events and are
            based on assumptions that may not remain valid for the whole                          15. Our valuation opinion is necessarily based on the definition of
            of the relevant period. We express no opinion as to how closely                           value stated in the report. An actual transaction involving the
            the actual results will correspond to those projected/forecast                            subject items might be concluded at a higher value or at a
            by management.                                                                            lower value, depending upon the circumstances of the
                                                                                                      transaction and the business, and the knowledge and
      10. We assume no responsibility and make no representations with                                motivational influences which may affect the sale of the
            respect to the accuracy or completeness of any information                                subject items We assume no responsibility for the price
            provided by and on behalf of Management.                                                  individual buyers and sellers may reach in an actual
                                                                                                      transaction.
      11. Our work with respect to prospective financial information did
            not constitute an examination, compilation, or agreed upon                            16. Unless otherwise stated in the report, the valuation of the
            procedures engagement of a financial forecast in accordance                               business has not considered or incorporated the potential
            with standards established by the American Institute of                                   economic gain or loss resulting from contingent assets,
            Certified Public Accountants, and we do not express assurance                             liabilities or events existing as of the Valuation Date.
            of any kind on it.
                                                                                                  17. BDO is not an environmental consultant or environmental
      12. We are not required to give testimony or be in attendance at                                auditor, and it takes no responsibility for any actual or
            any court or administrative proceeding with reference to the                              potential environmental liabilities. Any person entitled to rely
            business appraised unless additional compensation is agreed to                            on this report, wishing to know whether such liabilities exist,
            and prior arrangements have been made.                                                    or the scope and their effect on the value of the property, is
                                                                                                      encouraged        to   obtain   a   professional   environmental
      13. Our engagement is related to providing our conclusion of value                              assessment. BDO does not conduct or provide environmental
            and not to provide tax advice.                 Based on current Internal                  assessments and has not performed one for the subject
            Revenue Service rules and standards, any tax advice that might                            property.
            be contained in the report issued as a result of this engagement
            is not intended to be used, nor can it be used, for the




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      18. The conclusion of value arrived at herein is based on the
            assumption that the current level of management expertise
            and effectiveness would continue to be maintained and that
            the character and integrity of the enterprise through any sale,
            reorganization, exchange, or diminution of the owners’
            participation would not be materially or significantly changed.

      19. No opinion is intended to be expressed for matters that require
            legal     or other specialized expertise, investigation, or
            knowledge beyond that customarily employed by valuation
            specialists valuing a business, a business ownership interest,
            security, or intangible asset.

      20. Financial statements and other related information provided
            by Digital Assets DA AG or its representatives, in the course of
            this engagement, have been accepted without any verification
            as fully and correctly reflecting the enterprise’s business
            conditions and operating results for the respective periods,
            except as specifically noted herein. BDO has not audited,
            reviewed, or compiled the financial information provided to us
            and, accordingly, we express no audit opinion or any other
            form of assurance on this information.




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